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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                8:14CR363
       vs.                                   )
                                             )                  ORDER
REYNALDO URBINA-SORTES,                      )
                                             )
                     Defendant.              )
                                             )


      This matter is before the court on the Motion to Continue Trial [173] as counsel for
the government has been out of the district and needs additional time to prepare for trial
and secure witnesses. Good cause being shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for August 11, 2015 is continued to September 1, 2015.

       2. The time between today’s date and the commencement of trial is deemed
      excludable time in any computation of time under the requirement of the Speedy
      Trial Act for the reason that in continuing trial the ends of justice outweigh the
      best interest of the public and Defendant in a speedy trial and for the reasons set
      out in the government’s motion to continue trial, See 18 U.S.C. § 3161(7)(A).

      A party may object to the magistrate judge's order by filing an "Statement of
Objections to Magistrate Judge's Order" within 14 days after being served with the order.
The objecting party must comply with all requirements of NECrimR 59.2.

      DATED this 3rd day of August, 2015.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
